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12
                             UNITED STATES DISTRICT COURT FOR THE
13
               NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION
14
                                                    CASE NO. 3:21-cv-06771-EMC
15
      FUTURE MOTION, INC., a
16    Delaware Corporation,                         DEFENDANT JW BATTERIES LLC’S
                                                    REPLY IN SUPPORT OF ITS MOTION
17                                                  TO DISMISS UNDER RULE 12(b)(2) and
                     Plaintiff,                     (b)(3)
18
     v.
19                                                  Honorable Edward M. Chen
20    JW BATTERIES LLC, a Texas                     Date: Dec. 9, 2021
      Company,                                      Time: 1:30 PM
21                                                  Courtroom 5, 17th Floor
22
                     Defendants.
                                                    JURY TRIAL DEMANDED
23

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           DEFENDANT JW BATTERIES LLC’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS UNDER
                                      RULE 12(b)(2) AND (b)(3)
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 1                                                TABLE OF AUTHORITIES
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 1        I.   Introduction
 2             Future Motion acknowledges the Court does not have general jurisdiction over JW

 3   Batteries. Resp.1 at 8. Future Motion instead argues that the Court can exercise specific jurisdiction

 4   in this case. But, Future Motion fails to identify any conduct by JW Batteries directed at California

 5   that is sufficient to support specific jurisdiction over a small Texas company that operates a

 6   generally-accessible website. This case should be dismissed for lack of personal jurisdiction and,

 7   because the parties agree venue turns on the same considerations, lack of venue.

 8       II.   Future Motion Fails to Make a Prima Facie Showing of Specific Jurisdiction.

 9             Future Motion’s Response does not dispute that “[s]elling products on the internet on a

10   national scale is insufficient to establish personal jurisdiction in any one state without additional

11   evidence of conduct focused on that state.” See Motion2 at 10-11 (quoting Wonderful Co. LLC v.

12   Nut Cravings Inc., No. 220CV11738SVWJEM, 2021 WL 3598859, at *2 (C.D. Cal. Apr. 22, 2021)

13   and collecting cases from the 9th Circuit). Future Motion has failed to show conduct by JW

14   Batteries focused on California that would establish personal jurisdiction here.

15             Future Motion argues that JW Batteries has “expressly aimed” its products at California in

16   satisfaction of the second prong of the “purposeful direction” test because California is allegedly a

17   “focal point” of JW Batteries’ actions. See Resp. at 9. In support of this assertion, Future Motion

18   points to (1) JW Batteries’ sales numbers (Resp. at 9-10); (2) the purported appeal of JW Batteries’

19   website to Californians (Resp. at 9-10); and (3) JW Batteries’ recommendation of the Stoke Life

20   Services network of repair shops (Resp. at 10). None of these, separately or together, are sufficient

21   to demonstrate “express aiming” at California by JW Batteries.
                  A. JW Batteries’ Sales Do Not Show “Express Aiming” at California.
22
               As an initial matter, Future Motion focuses on the wrong sales numbers. As explained in its
23
     Motion, JW Batteries makes less than 19% of total sales to California, but the JWFFM chips and
24
     stickers giving rise to Future Motion’s claims3 that were shipped to California account for little
25

26   1
       “Resp.” refers to Plaintiff’s Opposition to Defendant’s Motion to Dismiss filed at Dkt. 18.
     2
27     “Motion” refers to Defendant’s Motion to Dismiss filed at Dkt. 16.
     3
       Although Future Motion references the “JWFFM Chip and related batteries” (Resp. at 9) and
28   asserts that its claims “arise out of Defendant’s sales of JWFFM Chips, high-capacity
                                                        1
          DEFENDANT JW BATTERIES LLC’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS UNDER
                                     RULE 12(b)(2) AND (b)(3)
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 1   more than 3% of JW Batteries’ revenue and 8 total stickers, respectively. Motion at 3 & 11.

 2   Although “[p]ercentages of sales in a given state, while not dispositive, may inform the general

 3   jurisdiction inquiry,” courts analyzing specific jurisdiction have given no weight to products that

 4   do not give rise to the lawsuit. See L.A. Gem & Jewelry Design, Inc. v. Ecommerce Innovations,

 5   LLC, No. CV 16-9325-RSWL-KSX, 2017 WL 1535084, at *6 & *8 (C.D. Cal. Apr. 27, 2017)

 6   (emphasis added) (noting that “the Court cannot say that through a passing reference to California,

 7   on a jewelry piece not even giving rise to the lawsuit, Defendants ‘expressly aimed’ their

 8   intentionally infringing acts at California.”).

 9          Regardless of whether the Court considers the less than 19% of total sales or 3% of sales

10   that give rise to the lawsuit, neither indicates that JW Batteries has “expressly aimed” its products

11   at California. As cited in JW Batteries’ Motion and unaddressed by Future Motion, the Ninth

12   Circuit held in 2020 that a foreign adult film website operator had not expressly aimed content at

13   the U.S. market even though 20% of the website’s users were in the U.S. Motion at 10 (citing AMA

14   Multimedia, LLC v. Wanat, 970 F.3d 1201, 1210 (9th Cir. 2020)).4 Moreover, Future Motion’s

15   observation that JW Batteries’ total sales are “more than ten times Defendant’s average sales rate

16   to 45 U.S. states and 11 other jurisdictions” is meaningless. That JW Batteries sold one unit to

17   Saskatchewan yet has more sales to the most populous state in the U.S. says nothing about whether

18   JW Batteries has done anything to “expressly aim” its products at California. JW Batteries’ sales

19   numbers do not support finding it purposefully directed its activities at California.

20              B. Neither JW Batteries’ Website Nor Its Products Are “Expressly Aimed” at
                   California.
21
            Future Motion argues that JW Batteries has “expressly aimed” its website at California
22
     because it “appeals to, and profits from, an audience” in California. Resp. at 9 (quoting Mavrix
23
     Photo v. Brand Technologies Inc., 647 F.3d 1218, 1231 (9th Cir. 2011)). Aside from referencing
24

25
     batteries, and trademark infringing stickers” (Resp. at 13) (emphasis added), Future Motion has
26   no claim against JW Batteries for its sale of batteries. See Complaint generally & Prayer for
27   Relief (seeking injunction against JWFFM Chip and JWXR stickers but not batteries).
     4
       JW Batteries’ Motion incorrectly stated that it was “quoting” the 9th Circuit’s AMA case when it
28   should have indicated it was quoting the C.D. Cal. decision that was “citing” AMA.
                                                       2
       DEFENDANT JW BATTERIES LLC’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS UNDER
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 1   JW Batteries’ sales numbers, Future Motion relies on its own location, its own “significant

 2   customer base” in California, and its assertion that “California is well-known as the place of origin

 3   and U.S. epicenter of skateboarding.” Resp. at 9.

 4          Future Motion’s presence and customer base in California have no jurisdictional relevance

 5   here. “The inquiry whether a forum State may assert specific jurisdiction over a nonresident

 6   defendant ‘focuses on the relationship among the defendant, the forum, and the litigation,’” and

 7   that relationship “must arise out of contacts that the ‘defendant himself’ creates with the forum

 8   State.” Axiom Foods, Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064, 1068 (9th Cir. 2017) (quoting

 9   Walden v. Fiore, 571 U.S. 277, 284 (2014) (emphasis in original)). The Ninth Circuit has noted

10   that the Supreme Court “rejected our conclusion that the defendants’ ‘knowledge of [the plaintiffs’]

11   “strong forum connections,”’ plus the ‘foreseeable harm’ the plaintiffs suffered in the forum,

12   comprise[] sufficient minimum contacts.” Id. at 1069–70.

13          Moreover, Future Motion has failed to show that JW Batteries’ website and/or products

14   specifically “appeal to, and profit[] from, an audience” in California as in the Mavrix case. This

15   Court has previously found Mavrix and DFSB Kollective Co. v. Bourne, 897 F. Supp. 2d 871 (N.D.

16   Cal. 2012) instructive on the issue of whether a website can give rise to specific jurisdiction. See

17   Good Job Games Bilism Yazilim Ve Pazarlama A.S. v. SayGames LLC, 458 F. Supp. 3d 1202, 1208-

18   09 (N.D. Cal. 2020). The Court noted that in Mavrix the Ninth Circuit held a website did give rise

19   to specific jurisdiction “reason[ing] that the defendant operated ‘a very popular website with a

20   specific focus’” on California’s celebrity and entertainment industries.” Id. at 1208 (emphasis in

21   original) (quoting Mavrix, 647 F.3d at 1230). In contrast, “in DFSB Kollective Co. v. Bourne, the

22   district found no personal jurisdiction” “distinguishing these websites [in which users could

23   download copyrighted Korean music] from the website in Mavrix—because ‘the best plaintiffs

24   have done is claim that California is one of the largest markets for Korean music . . . .’” Id. at 1209

25   (quoting DFSB Kollective, 897 F.Supp.2d at 874).

26          In this case, Future Motion has made no showing that JW Batteries’ website or its products

27   are specifically focused on California skateboarding. Even accepting RedBull’s and Wikipedia’s

28
                                                       3
       DEFENDANT JW BATTERIES LLC’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS UNDER
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 1   assertions about the origins and history of skateboarding in California (Resp. at 9), Future Motion

 2   has at best alleged that skateboarding is popular in California and might be one of the larger markets

 3   for electric skateboards like the Onewheel and its accessories. This is insufficient to find that JW

 4   Batteries has “expressly aimed” its website or products at California as in the Mavrix case.

 5              C. Recommending a Nationwide Network of Repair Shops Does Not Make
                   California a “Focal Point.”
 6
             Future Motion argues that JW Batteries has “expressly aimed” at California and the state is
 7
     a “focal point” because JW Batteries’ website recommends Stoke Life Services (“SLS”) for
 8
     professional installation of the JWFFM chip. Resp. at 10-11. SLS is a global Personal Electric
 9
     Vehicle (PEV) repair shop network—something like an Angie’s List for PEV repair shops. Martin
10
     2nd Decl.5 at ¶2. SLS maintains a network of repair shops across the United States and a few
11
     international locations. Id. at ¶3. The contact email that JW Batteries provides for SLS on its
12
     website is for a gentleman who runs a PEV repair shop in Colorado. Id. at ¶4. JW Batteries has not
13
     specifically referred a customer to a California SLS location. Id. at ¶5. Nothing about JW Batteries
14
     recommendation of using SLS indicates “express aiming” at California or that California is a “focal
15
     point” of JW Batteries.
16
             JW Batteries is unaware of where SLS is incorporated. Martin 2nd Decl. at ¶4. But, even if
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     Future Motion has correctly identified its operating entity as a California corporation, JW Batteries’
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     recommendation of a national network of PEV repair shops does not show JW Batteries expressly
19
     targeting California. This Court has rejected a similar argument that “any non-resident entity that
20
     elects to distribute a digital product through Apple or Google’s digital marketplace, or utilizes
21
     Facebook to advertise the product, expressly targets California . . . . because Apple, Google, and
22
     Facebook are all California-based entities.” Good Job Games, 458 F. Supp. 3d at 1207 & 1211
23
     (describing plaintiff’s argument and ultimately concluding that “[plaintiff] has not met its burden
24
     of pleading a prima facie case of specific personal jurisdiction in California.”); see also DFSB
25
     Kollective, 897 F. Supp.2d at 883 (noting “that Defendant utilized accounts on California-
26

27   5
      “Martin 2nd Decl.” refers to the second declaration of Jim Martin, founder and co-owner of JW
28   Batteries, attached as Exhibit 2.
                                                     4
         DEFENDANT JW BATTERIES LLC’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS UNDER
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 1   headquartered Internet companies Facebook, hi5.com, DeviantArt, and 4Shared to direct traffic to

 2   his Websites” and “[w]hile the location of these companies is relevant for lawsuits directly

 3   involving the companies, the Court is unpersuaded that the headquarters of these Internet

 4   companies establishes that Defendant expressly aimed his infringing activities at the California

 5   market.”).

 6           Moreover, SLS is a network of PEV repair shops with locations throughout the U.S. JW

 7   Batteries’ recommendation that customers use them to find a professional installer does not indicate

 8   targeting of California. See Martin 2nd Decl. at ¶5; id. at ¶3 & Ex. A (identifying current shops

 9   throughout the U.S. in SLS’s network). Whether any of JW Batteries’ customers ever have used

10   SLS repair shops, those are not acts of JW Batteries that can support specific jurisdiction. That

11   California law purportedly governs the terms and conditions between SLS and its customers is

12   irrelevant to JW Batteries’ contacts with California. And, it is unclear how Future Motion can

13   plausibly allege that “at least some of the installations of Defendant’s JWFFM Chips have occurred

14   in California.” Resp. at 12. JW Batteries does not know whether or not customers use an SLS shop,

15   let alone one in California. Martin 2nd Decl. at ¶5. Future Motion has no basis to make that

16   assertion.
                                                     ***
17
             Future Motion has failed make out a prima facie case of specific jurisdiction in this case.
18
     JW Batteries’ operation of a website selling its products on a national (and international) scale
19
     cannot support specific jurisdiction in California absent some additional conduct of JW Batteries
20
     focused on California. Future Motion’s response argues that the size of JW Batteries’ sales, its
21
     website’s relationship to skateboarding, and its recommendation of a nationwide network of repair
22
     shops provide that additional conduct. None of these factors, alone or together, demonstrates that
23
     JW Batteries has done anything to specifically target the California market and are insufficient to
24
     find specific jurisdiction in this case.
25
     III.    Future Motion’s Request for Jurisdictional Discovery Should Be Denied.
26
             JW Batteries opposes Future Motion’s motion for jurisdictional discovery as described in
27
     its response brief. Resp. at 12. It intends to file an opposition after review of what Future Motion
28
                                                      5
       DEFENDANT JW BATTERIES LLC’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS UNDER
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 1   actually filed shortly before this brief. See Dkt. 24. Nevertheless, none of the purportedly unclear

 2   issues Future Motion identifies in its Response justify additional discovery. See Resp. at 11-12.

 3   Specifically:

 4             JW Batteries does not track its customers in California (or anywhere else), and JW

 5              Batteries is not aware whether any customers in California have made any repeat

 6              purchases through their website. Martin 2nd Decl. at ¶8. JW Batteries searched its

 7              records to identify customers who sent their product from California to install a

 8              JWFFM Chip or battery and found two cases. One customer sent a board for

 9              installation from California, but had it shipped back to them in another state. The other

10              customer had JW Batteries handle installation for a board that was shipped from and

11              to California. Martin 2nd Decl. at ¶7.

12             JW Batteries has not done business directly with Future Motion. JW Batteries

13              borrowed a Onewheel from a resident of Texas to do its R&D on the JWFFM chip.

14              JW Batteries never purchased one from Future Motion or anyone else. Martin 2nd

15              Decl. at ¶9.

16             JW Batteries does not maintain information on “the extent to which [its] website

17              traffic, social media followers and/or page views come from California, or the extent

18              to which [it] interacts via social media with California residents” or “the extent to

19              which California customers view and/or follow [its] advertising links on its social

20              media pages.” JW Batteries does not target residents of California (or any other

21              particular place) through its website or social media accounts. Martin 2nd Decl. at ¶10.

22   The above information from the sworn declaration of JW Batteries’ founder and co-owner should

23   clear up the purportedly relevant issues that Future Motion identifies in its Response. None of these

24   issues would support finding specific jurisdiction in this case or justify additional discovery from

25   JW Batteries.

26   IV.    Leave to Amend Would Be Futile In This Case.

27          Future Motion should not be granted leave to amend its Complaint because it would be

28   futile. None of the facts or issues identified in its Response if properly plead would change the lack
                                                           6
       DEFENDANT JW BATTERIES LLC’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS UNDER
                                  RULE 12(b)(2) AND (b)(3)
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 1   of personal jurisdiction over JW Batteries in this case. Future Motion’s request to amend should be

 2   denied.

 3    V.       Conclusion

 4             For the foregoing reasons and those in JW Batteries’ opening brief, JW Batteries

 5   respectfully asks the court to dismiss the complaint filed by Plaintiff for lack of personal jurisdiction

 6   and improper venue.

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 1   DATED: November 15, 2021

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     DEFENDANT JW BATTERIES LLC’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS UNDER
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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify under penalty of perjury that a true and correct copy of the above and
 3   foregoing document has been served on all counsel of record via the Court’s CM/ECF system on
 4
     November 15, 2021.
 5
                                                  /s/David T. DeZern
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